          Case 1:22-cv-01538-RJL Document 12 Filed 08/29/22 Page 1 of 3




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 OPPORTUNITIES AFFORDED PLUS                   )
 LLC,                                          )
                                               )
              Plaintiff,                       )
                                               )
       v.                                                       CASE NO.: 1:22-cv-01538-RJL
                                               )
                                               )
 TRACEY TURNER, a Washington D.C. resident, )
 and TURNER DEVELOPMENT LLC, a                 )
 Washington D.C. limited liability corporation
                      Defendants.

        JOINT NOTICE OF SETTLEMENT AND REQUEST TO VACATE CASE
                         MANAGEMENT DEADLINES

       Plaintiff Opportunities Afforded Plus LLC (“OA”) and Defendants Turner Development

LLC and Tracey Turner (collectively, “Defendants”) jointly wish to inform the Court that the

parties have reached a stipulated settlement of the above-captioned action. The parties will prepare

dismissal papers and file them in the next ten (10) days. The parties jointly request that the Court

vacate the current case management order and all other upcoming hearings and deadlines, and hold

in abeyance all pending motions.

       Respectfully submitted, this 29th day of August, 2022.

               [Signatures on following pages]
Case 1:22-cv-01538-RJL Document 12 Filed 08/29/22 Page 2 of 3




                           /s/ Kimberly Delk Eason
                           Kimberly Delk Eason
                           (Bar ID. GA0032)
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                           Attorney for Opportunities Afforded Plus LLC

                           AND

                           By: /s/ Elton F. Norman
                           Elton F. Norman, Esquire
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                           Attorney for Defendants




                              2
         Case 1:22-cv-01538-RJL Document 12 Filed 08/29/22 Page 3 of 3




                              CERTIFICATE OF SERVICE

      I hereby certify that on August 29, 2022, a copy of the foregoing Notice of Settlement and

Request to Vacate Case Management Deadlines was filed electronically through the Court’s

CM/ECF System on the following:


                                  Elton F. Norman, Esquire
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                                    (301) 567-3544 (fax)
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      Respectfully submitted, this 29th day of August, 2022


                                           /s/ Kimberly Delk Eason
                                           Kimberly Delk Eason
                                           (Bar ID. GA0032)
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